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 Debtor     Superior Energy Services, Inc.                                             Case number (if known)
            Name


 Fill in this information to identify the case:
 Debtor Name           Superior Energy Services, Inc.
 United States Bankruptcy Court for the:
 Southern                                     District of     Texas
                                                              (State)                                                                    ☐ Check if this is an
 Case number (If known):                                                Chapter       11                                                     amended filing



 Official Form 201
 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/20
 If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
 number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

 1.         Debtor’s name                         Superior Energy Services, Inc.


 2.         All other names debtor used           SPN
            in the last 8 years
            Include any assumed names,            Superior Energy Services of Delaware, Inc.
            trade names, and doing
            business as names




 3.         Debtor’s federal Employer             7      5     – 2           3    7        9   3     8     8
            Identification Number (EIN)


 4.         Debtor’s address                      Principal place of business                              Mailing address, if different from principal place
                                                                                                           of business
                                                  1001 Louisiana Street, Suite 2900
                                                  Number       Street                                      Number     Street


                                                  Houston               TX                         77002
                                                  City                  State                  ZIP Code    City                State                ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Harris County
                                                  County
                                                                                                           Number     Street




                                                                                                           City                State                ZIP Code


 5.         Debtor’s website (URL)                https://www.superiorenergy.com/


 6.         Type of debtor                        ☒      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ☐      Partnership (excluding LLP)

                                                  ☐      Other. Specify:




                                                                                                                                                           Page 1
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 Debtor    Superior Energy Services, Inc.                                        Case number (if known)
           Name



 7.       Describe debtor’s business        A. Check one:
                                            ☐     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            ☐     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            ☐     Railroad (as defined in 11 U.S.C. § 101(44))
                                            ☐     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            ☐     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☐     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            ☒     None of the above


                                            B. Check all that apply:
                                            ☐     Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            ☐     Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                  § 80a-3)
                                            ☐     Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               https://www.uscourts.gov/four-digit-national-association-naics-codes
                                                   2      1       3        1


 8.       Under which chapter of the        Check one:
          Bankruptcy Code is the
          debtor filing?                    ☐     Chapter 7

                                            ☐     Chapter 9

                                            ☒     Chapter 11. Check all that apply:
          A debtor who is a “small                            ☐       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
          business debtor” must check                                 aggregate noncontingent liquidated debts (excluding debts owed to insiders or
          the first sub-box. A debtor as                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
          defined in § 1182(1) who elects                             recent balance sheet, statement of operations, cash-flow statement, and federal
          to proceed under subchapter V                               income tax return or if any of these documents do not exist, follow the procedure in
          of chapter 11 (whether or not                               11 U.S.C. § 1116(1)(B).
          the debtor is a “small business
          debtor”) must check the                             ☐       The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
          second sub-box.                                             noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                      less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                      Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                      statement of operations, cash-flow statement, and federal income tax return, or if
                                                                      any of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                      1116(1)(B).

                                                              ☒       A plan is being filed with this petition.

                                                              ☒       Acceptances of the plan were solicited prepetition from one or more classes of
                                                                      creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              ☒       The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                      Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                      Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                      Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              ☐       The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                      Rule 12b-2.
                                            ☐     Chapter 12




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 Debtor    Superior Energy Services, Inc.                                     Case number (if known)
           Name



 9.       Were prior bankruptcy cases       ☒ No
          filed by or against the debtor
          within the last 8 years?          ☐ Yes     District                     When                                Case Number

                                                                                                 MM / DD / YYYY
          If more than 2 cases, attach a
          separate list.                              District                     When                                Case Number

                                                                                                 MM / DD / YYYY


 10.      Are any bankruptcy cases          ☐ No
          pending or being filed by a
          business partner or an            ☒ Yes     Debtor      See attached Schedule 1                              Relationship     See Attached
          affiliate of the debtor?                                                                                                      Schedule 1

                                                      District    Southern District of Texas                           When             Contemporaneously
          List all cases. If more than 1,
          attach a separate list.                                                                                                       MM / DD / YYYY
                                                      Case number, if known


 11.      Why is the case filed in this     Check all that apply:
          district?
                                            ☐   Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                            ☒   A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                district.


 12.      Does the debtor own or have       ☒   No
          possession of any real
          property or personal              ☐   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
          property that needs                   needed.
          immediate attention?
                                                      Why does the property need immediate attention? (Check all that apply.)

                                                      ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                           or safety.
                                                           What is the hazard?

                                                      ☐    It needs to be physically secured or protected from the weather.

                                                      ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                           securities-related assets or other options).

                                                      ☐    Other



                                                      Where is the property?

                                                                                   Number      Street




                                                                                   City                    State                      ZIP Code


                                                      Is the property insured?

                                                      ☐    No

                                                      ☐    Yes.     Insurance agency

                                                                    Contact name

                                                                    Phone




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 Debtor    Superior Energy Services, Inc.                                     Case number (if known)
           Name



          Statistical and administrative information


 13.      Debtor’s estimation of            Check one:
          available funds
                                            ☒     Funds will be available for distribution to unsecured creditors.
                                            ☐     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                  creditors.


 14.      Estimated number of               ☐     1-49                          ☐     1,000-5,000                     ☐    25,001-50,000
          creditors
                                            ☐     50-99                         ☐     5,001-10,000                    ☐    50,001-100,000
          (on a consolidated basis)         ☐     100-199                       ☒     10,001-25,000                   ☐    More than 100,000
                                            ☐     200-999


 15.      Estimated assets                  ☐     $0-$50,000                    ☐     $1,000,001-$10 million          ☐    $500,000,001-$1 billion
                                            ☐     $50,001-$100,000              ☐     $10,000,001-$50 million         ☒    $1,000,000,001-$10 billion
          (on a consolidated basis)         ☐     $100,001-$500,000             ☐     $50,000,001-$100 million        ☐    $10,000,000,001-$50 billion
                                            ☐     $500,001-$1 million           ☐     $100,000,001-$500 million       ☐    More than $50 billion


 16.      Estimated liabilities             ☐     $0-$50,000                    ☐     $1,000,001-$10 million          ☐    $500,000,001-$1 billion
                                            ☐     $50,001-$100,000              ☐     $10,000,001-$50 million         ☒    $1,000,000,001-$10 billion
          (on a consolidated basis)         ☐     $100,001-$500,000             ☐     $50,000,001-$100 million        ☐    $10,000,000,001-$50 billion
                                            ☐     $500,001-$1 million           ☐     $100,000,001-$500 million       ☐    More than $50 billion


          Request for Relief, Declaration, and Signatures


 WARNING –     Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000
               or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.      Declaration and signature of      ☒     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
          authorized representative of            in this petition.
          debtor
                                            ☒     I have been authorized to file this petition on behalf of the debtor.

                                            ☒     I have examined the information in this petition and have a reasonable belief that the information is
                                                  true and correct.


                                            I declare under penalty of perjury that the foregoing is true and correct.

                                                  Executed on      12/07/2020
                                                                   MM / DD / YYYY


                                                 /s/ Westervelt (“Westy”) T. Ballard, Jr.              Westervelt (“Westy”) T. Ballard, Jr.

                                                  Signature of authorized representative of debtor      Printed name

                                                  Title   Authorized Signatory




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 Debtor   Superior Energy Services, Inc.                                  Case number (if known)
          Name


                                                                                                   Date
                                           
 18.      Signature of attorney                /s/ Timothy A. (“Tad”) Davidson II                           12/07/2020

                                               Signature of authorized representative of debtor             MM/ DD / YYYY


                                               Timothy A. (“Tad”) Davidson II
                                               Printed name

                                               Hunton Andrews Kurth LLP
                                               Firm name

                                               600 Travis Street, Suite 4200
                                               Number         Street

                                               Houston                                             Texas                    77002
                                               City                                                State                    ZIP Code

                                               713-220-4200                                        Taddavidson@huntonak.com
                                               Contact phone                                       Email address

                                               24012503                                            Texas
                                               Bar number                                          State




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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

    ---------------------------------------------------------    x
    In re:                                                       : Chapter 11
                                                                 :
    SUPERIOR ENERGY SERVICES, INC., et al,1                      : Case No. 20-_______ (_____)
                                                                 :
                        Debtors                                  :
                                                                 :
    --------------------------------------------------------     x

       Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy Under
                                          Chapter 11
1.         If any of the debtor’s securities are registered under Section 12 of the Securities Exchange
           Act of 1934, the SEC file number is 001-34037
2.         The following financial data is the latest available information

           a.       Total assets                                                                 $884,723.20
           b.       Total debts (including debts listed in 2.c below)                            $1,383,151,024.86
           c.       Debt securities held by more than 500 holders                                                   N/A
                                                                                     Approximate number of holders:
                    secured  unsecured           ☒     subordinated  $                                 see comment
                    secured  unsecured           ☒     subordinated  $                                 see comment
                    secured  unsecured           ☒     subordinated  $                                 see comment
                    secured  unsecured           ☒     subordinated  $                                 see comment
                    secured  unsecured           ☒     subordinated  $                                 see comment
           d.       Number of shares of preferred stock                     Authorized – 5,000,000 shares; none
                    issued

           e.       Number of shares of common stock            Authorized – 25,000,000; Issued –
                    15,799,039; Outstanding – 14,826,627 as of 06/30/2020


1
      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
      Superior Energy Services, Inc. (9388), SESI, L.L.C. (4124), Superior Energy Services-North America Services,
      Inc. (5131), Complete Energy Services, Inc. (9295), Warrior Energy Services Corporation (9424), SPN Well
      Services, Inc. (2682), Pumpco Energy Services, Inc. (7310), 1105 Peters Road, L.L.C. (4198), Connection
      Technology, L.L.C. (4128), CSI Technologies, LLC (6936), H.B. Rentals, L.C. (7291), International Snubbing
      Services, L.L.C. (4134), Stabil Drill Specialties, L.L.C. (4138), Superior Energy Services, L.L.C. (4196), Superior
      Inspection Services, L.L.C. (4991), Wild Well Control, Inc. (3477), Workstrings International, L.L.C. (0390).
      The Debtors’ address is 1001 Louisiana Street, Suite 2900, Houston, Texas 77002.



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        Comments, if any: Superior Energy Services, Inc. does not and cannot know the precise
        number of beneficial holders of any of the debt securities it has issued and does not believe
        that any such securities are held by more than 500 holders.

3.      Brief description of debtor’s business:     The debtor provides specialized oilfield
        services and equipment to the energy industry.

4.      List of the names of any person who directly or indirectly owns, controls, or holds, with
        power to vote, 5% or more of the voting securities of debtor:

        a.       LJH, Ltd - 15.21%

        b.       Monarch Alternative Capital LP - 7.74%

        c.       Warlander Asset Management, LP - 7.49%

        d.       Aristeia Capital, L.L.C. - 6.50%

        e.       Madison Avenue Partners, LP - 5.40%




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 Fill in this information to identify the case:
 Debtor Name         Superior Energy Services, Inc.
 United States Bankruptcy Court for the:
 Southern                              District of   Texas
                                                     (State)
 Case number (If                                           Chapter   11              ☐ Check if this is an
 known):                                                                                 amended filing


                                                               Schedule 1

                Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the affiliated entities listed below (including the debtor in this chapter
11 case, collectively, the “Debtors”) filed a voluntary petition for relief under chapter 11 of title
11 of the United States Code in the United States Bankruptcy Court for the Southern District of
Texas. The Debtors have filed a motion requesting that the chapter 11 cases of these entities be
consolidated for procedural purposes only and jointly administered under the number assigned to
the chapter 11 case of Superior Energy Services, Inc.

                                     Superior Energy Services, Inc.
                                     SESI, LLC.
                                     Superior Energy Services-North America
                                     Services, Inc.
                                     Complete Energy Services, Inc.
                                     Warrior Energy Services Corporation
                                     SPN Well Services, Inc.
                                     Pumpco Energy Services, Inc.
                                     1105 Peters Road, LLC.
                                     Connection Technology, L.L.C.
                                     CSI Technologies, LLC
                                     H.B. Rentals L.C.
                                     International Snubbing Services, L.L.C.
                                     Stabil Drill Specialties, L.L.C.
                                     Superior Energy Services, L.L.C.
                                     Superior Inspection Services, L.L.C.
                                     Wild Well Control, Inc.
                                     Workstrings International, L.L.C.




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                            SUPERIOR ENERGY SERVICES, INC.

                                SECRETARY’S CERTIFICATE


        I, William B. Masters, the duly authorized Executive Vice President, General Counsel, and
Secretary of Superior Energy Services, Inc., a Delaware Corporation (the “Company”), presently
serving in such capacity, hereby certify that on December 3, 2020 all of the members of the
Company’s board of directors (the “Board of Directors”), and collectively with SESI, L.L.C.
(“SESI”), Superior Energy Services-North America Services, Inc., Complete Energy Services,
Inc., Warrior Energy Services Corporation, SPN Well Services, Inc., Pumpco Energy Services,
Inc., 1105 Peters Road, L.L.C., Connection Technology, L.L.C., CSI Technologies, LLC, H.B.
Rentals, L.C., International Snubbing Services, L.L.C., Stabil Drill Specialties, L.L.C., Superior
Energy Services, L.L.C., Superior Inspection Services, L.L.C., Wild Well Control, Inc. and
Workstrings International, L.L.C., the “Companies”), hereby consented in writing, pursuant to the
provisions of applicable law, based on the advice of the Company’s professionals and advisors,
and after thorough discussions, took the following actions and adopted the following resolutions
by Unanimous Written Consent:

Filing of Chapter 11 Cases

       WHEREAS, the Company intends to implement a restructuring, which shall include all of
the Companies, in order to preserve the value of the Company’s business and for all stakeholders
(the “Restructuring”);

       WHEREAS, the Company proposes to enter into that certain Amended and Restated
Restructuring Support Agreement (together with all exhibits thereto, and as amended, restated,
amended and restated, supplemented and/or otherwise modified from time to time, the “RSA”),
which will amend and restate the original restructuring support agreement entered into on
September 29, 2020, regarding certain material terms of the Restructuring with certain holders of
SESI’s (i) $800,000,000 7.125% senior unsecured notes due 2021 (the “2021 Notes”) and (ii)
$500,000,000 7.750% senior unsecured notes due 2024 (the “2024 Notes”), of which the Company
and each of the Companies other than SESI are a guarantor;

        WHEREAS, the Board of Directors has been provided a copy of the RSA, along with the
exhibits thereto, including the plan or reorganization attached as Exhibit A to the RSA;

        WHEREAS, the RSA contemplates that, upon the terms and subject to the conditions set
forth therein, the Consenting Noteholders (as defined in the RSA) shall support and pursue,
together with the Companies, a joint prepackaged chapter 11 plan of reorganization to be filed in
the United States Bankruptcy Court for the Southern District of Texas, Houston Division (the
“Bankruptcy Court”), involving, among other things: (i) the full repayment of the amounts
outstanding under the existing fifth amended and restated credit agreement, dated as of October
20, 2017, by and among SESI, as borrower, the Company, the lenders party thereto and JPMorgan


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Chase Bank, N.A as administrative agent; (ii) the conversion of the 2021 Notes and 2024 Notes,
to the extent holders of such notes affirmatively opt out of the cash-out option provided for in the
Companies’ chapter 11 plan of reorganization, into 100% of the equity of the Company, as
reorganized pursuant to the terms of the Company’s chapter 11 plan of reorganization, and the
offering of subscription rights to an equity rights offering (with a cash-out option) to certain
holders of 2021 Notes and 2024 Notes; and (iii) access to new capital in the form of an exit facility
in the aggregate principal amount of up to $170 million;

       WHEREAS, the Board of Directors have been advised by the Company’s management
and advisors of the proposed terms and conditions of the RSA; and

        WHEREAS, the Board has received, reviewed, and discussed the recommendations of
senior management of the Company and the Company’s legal, financial, and other advisors as to
the relative risks and benefits of the strategic alternatives available to the Company, including
pursuing a reorganization through a bankruptcy case (the “Chapter 11 Case”) under the provisions
of Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.
(the “Bankruptcy Code”), and has discussed the key “first day” and “second day” pleadings that
would be proposed to be filed in connection with the Chapter 11 Cases (as defined below) (the
“Chapter 11 Filings”).

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board of
Directors, it is desirable and in the best interests of the Company, its creditors, stockholders and
other interested parties, that the Company seek relief under the provisions of Chapter 11, Title 11
of the Bankruptcy Code; and it is further

       RESOLVED, that the Company is hereby authorized, and each “Authorized Person” (as
defined below) shall be, and hereby is, authorized and directed, on behalf of the Company, to
commence a Chapter 11 Case by executing, verifying and delivering a voluntary petition in the
name of the Company under Chapter 11 of the Bankruptcy Code and causing the same to be filed,
along with the Chapter 11 Filings, with the Bankruptcy Court in such form and at such time as the
Authorized Person executing said petition shall determine; and it is further

       RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized and directed, on behalf of the Company, to seek to have its Chapter
11 Case jointly administered by the Bankruptcy Court with the separate cases commenced by the
other Companies under Chapter 11 of the Bankruptcy Code (the respective Chapter 11 Case
together with such other separate cases, the “Chapter 11 Cases”); and it is further

         RESOLVED, that the entry into by the Company of the RSA for the purposes of securing
the necessary support amongst the Company’s creditors for the Chapter 11 Cases be, and hereby
is, in all respects, approved, ratified and confirmed; and it is further

       RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company, to negotiate, effect, execute, deliver and perform any amendments, modifications,
replacements, releases or other alterations of whatever form or nature to any of the existing
documentation governing the Company’s indebtedness existing as of the date of these resolutions,
including, without limitation, any credit agreements, guaranties, security documents or indentures,
as such Authorized Person may, in their sole discretion, deem necessary or appropriate in
connection with the Chapter 11 Cases; and it is further


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        RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company, to the extent applicable, to obtain the use of cash collateral, in such amounts and on
such terms as may be agreed by any Authorized Person in their sole discretion, including the grant
of replacement liens or other adequate protection, as is reasonably necessary or appropriate for the
continuing conduct of the affairs of the Company; and it is further

       RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized, on behalf of and in the name of the Company, to enter into such
forbearance agreements, waivers, amendments or modifications, or other supplements relating to
the Company’s existing indebtedness as may be deemed necessary or appropriate by such
Authorized Person; and it is further

        RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized, on behalf of and in the name of the Company, to the extent applicable,
to enter into and seek authority from the Bankruptcy Court to enter into and/or assume any other
restructuring support or similar agreements in connection with the Chapter 11 Cases and to enter
into, and/or seek approval of, any agreements, documents or instruments related thereto; and it is
further

         RESOLVED, that the Company is authorized, and each Authorized Person shall be, and
hereby is, authorized and empowered, with full power of delegation, on behalf of and in the name
of the Company, to execute (under the common seal of the Company, if appropriate), verify and/or
file, or cause to be filed and/or executed or verified (or direct others to do so on their behalf as
provided herein), and to amend, supplement or otherwise modify from time to time, all necessary
or appropriate documents with (i) the Securities and Exchange Commission; (ii) the Bankruptcy
Court; and (iii) any other court or regulatory body, including, without limitation, petitions,
affidavits, schedules, motions, lists, applications, the Chapter 11 Filings, pleadings and other
documents, agreements and papers, including all loan agreements, documents, notes, guaranties,
security agreements, pledge agreements and all other documents, agreements or instruments and
to take any and all actions that the Authorized Person deems necessary or appropriate, each in
connection with the Chapter 11 Cases, any post-petition financing or any cash collateral usage
contemplated hereby or thereby; and it is further

         RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized and empowered, on behalf of and in the name of the Company, to
employ and retain: (i) the law firms of Latham & Watkins LLP and Hunton Andrews Kurth LLP
as attorneys in connection with the Chapter 11 Cases and to take any and all actions to advance
the Company’s rights, including the preparation of pleadings and filings in the Chapter 11 Cases;
(ii) Ducera Partners LLC and Johnson Rice & Company L.L.C. to act as investment bankers and
financial advisors in connection with the Chapter 11 Cases; (iii) the firm of Kurtzman Carson
Consultants LLC to act as notice, claims and balloting agent and to provide other related services
to the Company in the Chapter 11 Cases; (iv) the firm of Alvarez & Marsal North America, LLC
to provide restructuring advice and other related services to the Company in the Chapter 11 Cases;
and (v) the firm of Ernst & Young LLP to provide tax advice and related services to the Company
in the Chapter 11 Cases, and any such acts previously taken by the Authorized Persons consistent
with this resolution shall be, and hereby are, in all respects, approved, ratified and confirmed; and
it is further



                                                  3
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       RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized and empowered, on behalf of and in the name of the Company, to
employ and retain such further legal, restructuring, financial, accounting and bankruptcy services
firms (together with the foregoing identified firms, the “Professionals”) as may be deemed
necessary or appropriate by such Authorized Person to assist the Company in carrying out its
responsibilities in the Chapter 11 Cases and achieving a successful reorganization; and it is further

Approval of DIP Credit Facility

      WHEREAS, the Company is the sole member of SESI, a Delaware limited liability
company (the “Borrower”);

        WHEREAS, it is proposed that the Company enter into a Senior Secured Debtor-in-
Possession Credit Agreement and with such final terms and in such final form to be negotiated and
approved by the Authorized Persons or their delegees (as amended, restated, amended and restated,
supplemented and/or otherwise modified from time to time, the “DIP Credit Agreement”), by
and among the Company, as parent, the Borrower, as borrower, the financial institutions and other
parties from time to time party thereto as lenders (the “DIP Lenders”) and JPMorgan Chase Bank,
N.A., as administrative agent (in such capacity, the “DIP Agent”);

         WHEREAS, it is proposed that the Company enter into the Loan Documents (as defined
in the DIP Credit Agreement), instruments, certificates, agreements and other documents
necessary, desirable, convenient, appropriate, advisable or otherwise requested by the DIP Agent
to satisfy the covenants, conditions precedent and any conditions subsequent for the extension of
credit under the DIP Credit Agreement, or in connection with the performance of its obligations
under the DIP Credit Agreement, and the other Loan Documents deemed necessary or proper by
the DIP Agent or required by any of the Loan Documents and affidavits, agreements, certificates,
documents, instruments, notices, recordings or filings relating to any of the foregoing, in each case
with such terms and in such forms as negotiated and approved by the Authorized Persons or their
delegees (together with the DIP Credit Agreement and the other Loan Documents, collectively,
the “DIP Credit Documents”);

        WHEREAS, in connection with the execution, delivery and performance by the Company
of the DIP Credit Documents to which it is a party, the Company may be required, or may deem
it necessary or appropriate, to take such other actions, including, without limitation, the payment
of fees, costs and expenses, the giving of notices, the designation of persons authorized to act, and
other actions as may be necessary or appropriate to perform under any DIP Credit Document to
which it is a party (collectively, the “Related Actions”);

        WHEREAS, the Board of Directors has determined that the Company’s entry into the DIP
Credit Documents to which it is a party, including, if applicable, the Company’s guarantee of
obligations of the Borrower and others, as applicable, in the DIP Order and taking of the Related
Actions (i) is necessary or convenient to the conduct, promotion or attainment of the Company’s
business and (ii) may reasonably be expected to benefit the Company, directly or indirectly; and

        WHEREAS, the Board of Directors of the Company has determined that the execution,
delivery and performance of each DIP Credit Document and taking of the applicable Related
Actions will benefit the Company and is in the best interest of the Company, including the granting
of a lien on and/or security interest in substantially all of its assets to secure the obligations under



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the DIP Credit Documents and to enter into and to perform its obligations under each DIP Credit
Document.

       FURTHER RESOLVED, that the Board of Directors hereby determines that the
negotiation and approval of the terms and forms of the DIP Credit Agreement and the other DIP
Credit Documents by the Authorized Persons and their delegees, approval of the transactions
contemplated by the DIP Credit Documents and the execution, delivery and performance by the
Company of the DIP Credit Documents on the terms and conditions as substantially described or
provided to the Board of Directors will benefit the Company and is in the best interest of the
Company; and it is further

         RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and in
the name of the Company, to negotiate and approve the terms and form of any adequate protection
to creditors and to secure the payment and performance of any post-petition financing, including
financing incurred through the DIP Credit Agreement, and to effectuate the forgoing by (i) paying
or approving the payment of all amounts payable in connection with any adequate protection
arrangement, (ii) pledging or granting liens and mortgages on, or security interest in, all or any
portion of the Company’s assets, including all or any portion of the issued and outstanding capital
stock, partnership interests, or membership interests of any subsidiaries of the Company, whether
now owned or hereafter acquired, and (iii) entering into or causing to be entered into such security
agreements, pledge agreements, control agreements, intercreditor agreements, mortgages, deeds
of trust and other agreements as are necessary, appropriate or desirable to effectuate the intent of,
or matters reasonably contemplated or implied by, these resolutions in such form, covering such
collateral and having such other terms and conditions as are approved or deemed necessary,
appropriate or desirable by the Authorized Person executing the same, the execution thereof by
such Authorized Person to be conclusive evidence of such approval or determination; and it is
further

        RESOLVED, that the Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and in
the name of the Company, to execute, verify and/or file, or cause to be filed and/or executed or
verified (or direct others to do so on their behalf as provided herein), and to amend, supplement or
otherwise modify from time to time any of the DIP Credit Documents to which it is a party, and
to take any and all actions that the Authorized Person deems necessary or appropriate, each in
connection with the Chapter 11 Cases and/or any post-petition financing or any cash collateral
usage contemplated hereby or thereby; and it is further

        RESOLVED, that each Authorized Person is hereby authorized, directed and empowered
to do or cause to be done all such acts or things and to execute and deliver, or cause to be executed
and delivered, under seal or otherwise, all such DIP Credit Documents or other affidavits,
agreements, certificates, documents, instruments, notices, recordings and filings (including,
without limitation, any and all certificates and notices required or permitted to be given or made
under the terms, conditions or provisions of any of the agreements, documents or instruments
executed therewith), in the name and on behalf of the Company on behalf of each of the Company’s
direct or indirect subsidiaries, as any such Authorized Officer, in his or her discretion, may deem
necessary, proper or advisable to effectuate or carry out the purposes and intent of the foregoing
resolutions and to perform the obligations of such subsidiary under all affidavits, agreements,
certificates, documents, instruments, recordings and filings executed or delivered on behalf of such



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subsidiary in connection with the DIP Credit Documents to which such subsidiary is a party; and
it is further

        RESOLVED, that the Company is hereby authorized to grant a lien on, security interest
in, and/or pledge any and all of its properties and assets to secure its obligations (including any
obligations guaranteed by it under the DIP Order or any other DIP Credit Document) and to use
and obtain the benefits of the cash collateral under the DIP Credit Documents and to enter into and
to perform its obligations under each DIP Credit Document and that the grant of liens, security
interests and pledges by the Company as contemplated in the DIP Credit Documents, and the grant
of any additional liens, security interests or pledges pursuant to any additional security agreements
or pledge agreements that may be required under the DIP Credit Documents, and the execution of
documents, agreements and instruments in connection therewith, and the filing of financing
statements to perfect or otherwise evidence such liens, security interests or pledges, are in each
case hereby authorized, approved, and adopted, as applicable; and it is further

       RESOLVED, that the Company, each Authorized Person and any of their designees is
hereby authorized to take any of the Related Actions.

General

        FURTHER RESOLVED, that each Authorized Person shall be, and hereby is, authorized,
with full power of delegation, in the name and on behalf of the Company, to take or cause to be
taken any and all such further action and to execute and deliver or cause to be executed or delivered,
and to amend, supplement or otherwise modify from time to time, all such further agreements,
documents, certificates, statements, notices, undertakings and other writings, and to incur and to
pay or direct payment of all such fees and expenses, as in the judgment of the Authorized Person
shall be necessary, appropriate or advisable to effectuate the purpose and intent of any and all of
the foregoing resolutions; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by any officer of the
Company or any of the Professionals in connection with the Chapter 11 Cases or any proceedings
related thereto, or any matter related thereto, be, and hereby are, adopted, ratified, confirmed and
approved in all respects as the acts and deeds of the Company; and it is further

        RESOLVED, that any and all actions, whether previously or subsequently taken by any
Authorized Person or any other person authorized to act by an Authorized Person, that are
consistent with the intent and purpose of the foregoing resolutions or in connection with any
matters referred to herein, shall be, and the same hereby are, in all respects, ratified, approved and
confirmed; and it is further

       RESOLVED, that for the purposes of these resolutions, the term “Authorized Person”
shall mean and include each of the President and Chief Executive Officer, the Chief Financial
Officer, the Chief Accounting Officer, and the General Counsel; and it is further

         RESOLVED, that to the extent of any inconsistency between the terms of this Unanimous
Written Consent and the Amended and Restated Bylaws of the Company (the “ByLaws”), the
terms of this Unanimous Written Consent shall control and the ByLaws shall be amended hereby;
and it is further




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       RESOLVED, that this Unanimous Written Consent shall be governed by the laws of the
State ofDelaware (without regard to conflict oflaws principles).




       IN WITNESS WHEREOF, I have signed this Certificate effective for all lawful purposes
as ofthis 4th day ofDecember, 2020.



                                                    William B. Masters
                                                    Executive Vice President, General Counsel,
                                                    and Secretary


NOTARY PUBLIC

On this 4th day ofDecember, 2020, before me, the undersigned Notary Public in and for the State
ofTexas, United States ofAmerica, personally appeared William B. Masters, known by me as the
duly authorized Executive Vice President, General Counsel, and Secretary of Superior Energy
Services, Inc., and in my presence signed the foregoing Certificate in the name ofand on behalfof
said Company.

Given my signature and seal ofoffice, this 4th day ofDecember, 2020.




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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
                                                           2
SUPERIOR ENERGY SERVICES, INC., et al., : Case No. 20-_______ (_____)
                                                             :
                    Debtors.                                 : (Joint Administration Requested)
                                                             :
------------------------------------------------------------ x


                    CONSOLIDATED LIST OF CREDITORS HOLDING THE
                        THIRTY LARGEST UNSECURED CLAIMS

                  Superior Energy Services, Inc. and the entities listed in Schedule 1 to this petition
(together, the “Debtors”) each filed a petition in this Court on the date hereof for relief under
chapter 11 of title 11 of the United States Code. Contemporaneously with the filing of their
petitions, the Debtors filed a motion requesting, among other things, authority to file a consolidated
list of creditors holding the thirty largest unsecured claims (the “Largest Unsecured Creditors
List”).

                  The Largest Unsecured Creditors List is based on the Debtors’ books and records
as of December 4, 2020, and was prepared in accordance with rule 1007(d) of the Federal Rules
of Bankruptcy Procedure for filing in the Debtors’ chapter 11 cases. The Largest Unsecured
Creditors List does not include persons who come within the definition of “insider” set forth in 11
U.S.C. § 101(31).

                  The information contained in the Largest Unsecured Creditors List shall not
constitute an admission by, nor shall it be binding on, the Debtors. Moreover, nothing herein shall
affect the Debtors’ rights to challenge the amount or characterization of any claim at a later date.

2
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    Superior Energy Services, Inc. (9388), SESI, L.L.C. (4124), Superior Energy Services-North America Services,
    Inc. (5131), Complete Energy Services, Inc. (9295), Warrior Energy Services Corporation (9424), SPN Well
    Services, Inc. (2682), Pumpco Energy Services, Inc. (7310), 1105 Peters Road, L.L.C. (4198), Connection
    Technology, L.L.C. (4128), CSI Technologies, LLC (6936), H.B. Rentals, L.C. (7291), International Snubbing
    Services, L.L.C. (4134), Stabil Drill Specialties, L.L.C. (4138), Superior Energy Services, L.L.C. (4196), Superior
    Inspection Services, L.L.C. (4991), Wild Well Control, Inc. (3477), Workstrings International, L.L.C. (0390).
    The Debtors’ address is 1001 Louisiana Street, Suite 2900, Houston, Texas 77002.


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The failure to list a claim as contingent, unliquidated, or disputed does not constitute a waiver of
the Debtors’ rights to contest the validity priority and/or amount of such a claim.




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 Fill in this information to identify the case:
 Debtor Name           Superior Energy Services, Inc.
 United States Bankruptcy Court for the:
 Southern                                     District of   Texas
                                                            (State)                                                                   ☐ Check if this is an
 Case number (If known):                                              Chapter   11                                                        amended filing


Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who
Have the 30 Largest Unsecured Claims and Are Not Insiders       12/15
A list of creditors holding the thirty (30) largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include
claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.
§ 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the thirty (30) largest unsecured claims.
 Name of creditor and complete             Name, telephone number, and          Nature of       Indicate if     Amount of unsecured claim
 mailing address, including zip            email address of creditor            the claim       claim is        If the claim is fully unsecured, fill in only
 code                                      contact                              (for example,   contingent,     unsecured claim amount. If claim is
                                                                                trade debts,    unliquidated,   partially secured, fill in total claim
                                                                                bank loans,     or disputed     amount and deduction for value of
                                                                                professional                    collateral or setoff to calculate
                                                                                services, and                   unsecured claim.
                                                                                government                                     Deducti
                                                                                contracts)                        Total         on for
                                                                                                                 claim, if     value of        Unsecured
                                                                                                                 partially     collatera         claim
                                                                                                                 secured         l or
                                                                                                                                setoff
1     The Bank of New York                Lisa McCants
      Mellon Trust Company,               EMAIL -
      N.A.                                Lisa.McCants@bnymellon.co
      ATTN: Lisa McCants                  m
      10161 Centurion Parkway             PHONE - (713) 483-6752                Unsecured
      Jacksonville, FL 32256              FAX - (904) 645-1921                  Notes                                                        $827,075,000
2     The Bank of New York                Lisa McCants
      Mellon Trust Company,               EMAIL -
      N.A.                                Lisa.McCants@bnymellon.co
      ATTN: Lisa McCants                  m
      10161 Centurion Parkway             PHONE - (713) 483-6752                Unsecured
      Jacksonville, FL 32256              FAX - (904) 645-1921                  Notes                                                        $508,718,750
3     Internal Revenue Service            Centralized Insolvency
      ATTN: Centralized                   Operation                             CARES Act
      Insolvency Operation                EMAIL -                               - Payroll
      2970 Market Street                  PHONE - (215) 222-8200                Tax
      Philadelphia, PA 19104              FAX - (855) 235-6787                  Deferral                                                        $5,788,014
4     Trendsetter Engineering             Ron Downing
      Inc                                 EMAIL -
      ATTN: Ron Downing                   r.downing@trendsetterenginee
      President                           ring.com
      10430 Rodgers Road                  PHONE - (281) 465-8858                Trade
      Houston, TX 77070                   FAX -                                 Payable                                                         $1,323,000




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 Name of creditor and complete    Name, telephone number, and   Nature of       Indicate if     Amount of unsecured claim
 mailing address, including zip   email address of creditor     the claim       claim is        If the claim is fully unsecured, fill in only
 code                             contact                       (for example,   contingent,     unsecured claim amount. If claim is
                                                                trade debts,    unliquidated,   partially secured, fill in total claim
                                                                bank loans,     or disputed     amount and deduction for value of
                                                                professional                    collateral or setoff to calculate
                                                                services, and                   unsecured claim.
                                                                government                                     Deducti
                                                                contracts)                        Total         on for
                                                                                                 claim, if     value of        Unsecured
                                                                                                 partially     collatera         claim
                                                                                                 secured         l or
                                                                                                                setoff
5  B&L Pipeco Services Inc        Matt Paulsen
   ATTN: Matt Paulsen             EMAIL -
   Controller                     mpaulsen@ccpipellc.com
   20465 SH 249                   PHONE - (713) 468-6555
   Suite 200                      FAX -                         Trade
   Houston, TX 77070                                            Payable                                                           $924,735
6  Delmar Systems Inc             Ken Babin
   ATTN: Ken Babin                EMAIL -
   Chief Information Officer      kennysky04@yahoo.com
   8114 W. Hwy. 90                PHONE - (225) 776-4333        Trade
   Broussard, LA 70518            FAX -                         Payable                                                           $474,500
7  Enterprise Fleet               Brice Adamson
   Management                     EMAIL -
   ATTN: Brice Adamson            brice.adamson@efleets.com
   Executive Vice President       PHONE - (314) 889-8400
   29 Hunter Ave                  FAX -                         Trade
   St. Louis, MO 63124                                          Payable                                                           $440,711
8  Enterprise FM Trust            Keith Gurule
   ATTN: Keith Gurule             EMAIL -
   Finance Director               Keith.E.Gurule@efleets.com
   811 Main Street                PHONE - (713) 300-7450        Trade
   Kansas City, MO 64105          FAX -                         Payable                                                           $180,555
9  Lafayette Steel Erector        April ThompsonEMAIL -
   IncATTN: April                 aprilt@lsecrane.comPHONE -
   Thompson313 Westgate           (337) 234-9435FAX - (337)     Trade
   RoadLafayette, LA 70506        234-0217                      Payable                                                           $155,530
10 Becnel Rental Tools LLC        Jason Becnel
   ATTN: Jason Becnel             EMAIL - jason@becnelrt.com
   Operations Director            PHONE - (504) 341-4610
   1809 Industrial Blvd           FAX - (504) 341-4610          Trade
   Harvey, LA 70058                                             Payable                                                           $128,811
11 Connector Specialists Inc      Alex Wheelock
   ATTN: Alex Wheelock            EMAIL -
   CEO                            alex.wheelock@connectorspec
   11050 W Little York Rd,        ialists.com
   Building N                     PHONE - (504) 469-1659      Trade
   Houston, TX 77041              FAX - (337) 237-3756        Payable                                                             $108,868
12 FMC Technologies Inc           Douglas J. Pferdehirt
   ATTN: Douglas J.               EMAIL -
   Pferdehirt                     dpferdehirt@technipfmc.com
   Chief Executive Officer        PHONE - (281) 591 4000
   11740 Katy Fwy                 FAX -                       Trade
   Houston, TX 77079                                          Payable                                                             $106,489




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 Name of creditor and complete    Name, telephone number, and   Nature of       Indicate if     Amount of unsecured claim
 mailing address, including zip   email address of creditor     the claim       claim is        If the claim is fully unsecured, fill in only
 code                             contact                       (for example,   contingent,     unsecured claim amount. If claim is
                                                                trade debts,    unliquidated,   partially secured, fill in total claim
                                                                bank loans,     or disputed     amount and deduction for value of
                                                                professional                    collateral or setoff to calculate
                                                                services, and                   unsecured claim.
                                                                government                                     Deducti
                                                                contracts)                        Total         on for
                                                                                                 claim, if     value of        Unsecured
                                                                                                 partially     collatera         claim
                                                                                                 secured         l or
                                                                                                                setoff
13   Timbercreek Real Estate      Christoper C. Ortowski
     Partners LLC                 EMAIL -
     ATTN: Christoper C.          PHONE - (940) 665-2316
     Ortowski                     FAX -
     Manager
     175 County Road 131                                        Trade
     Gainesville, TX 76240                                      Payable                                                             $96,872
14   Control Flow Inc             Bill Laird
     ATTN: Bill Laird             EMAIL -
     President                    blaird@controlflow.com
     9201 Fairbanks N.            PHONE - (281) 890-8300
     Houston Road                 FAX - (281) 890-3947          Trade
     Houston, TX 77064                                          Payable                                                             $76,380
15   National Oilwell Varco       Jack Dyer
     Tuboscope                    EMAIL - jack.dyer@nov.com
     ATTN: Jack Dyer              PHONE - (936) 273-3998
     Vice President, US           FAX -
     Operations
     7909 Parkwood Circle Dr.                                   Trade
     Houston, TX 77036                                          Payable                                                             $73,627
16   Practical Engineering
     Solutions LLC                EMAIL -
     124 Heymann Blvd, Suite      PHONE - (337) 408-3242
     201                          FAX -                         Trade
     Lafayette, LA 70503                                        Payable                                                             $71,875
17   Bricco Metal Finishing       Rick BridgesEMAIL -
     LLCATTN: Rick                rick@briccomf.comPHONE -
     BridgesCEO17667 Telge        (832) 534-1190FAX -           Trade
     RoadCypress, TX 77429                                      Payable                                                             $69,353
18   CAD Control Systems          Reggie Welty
     ATTN: Reggie Welty           EMAIL - rwelty@cadoil.com
     President and Chief          PHONE - (337) 369-3737
     Executive Officer            FAX - (337) 369-3724
     1017 Freeman Road                                          Trade
     Broussard, LA 70518                                        Payable                                                             $68,496
19   BS & G Rentals LLC           Jason Bellard
     ATTN: Jason Bellard          EMAIL -
     1100 Smede Hwy               bellard@petropull.org
     Broussard, LA 70518-         PHONE - (337) 365-5001        Trade
     8033                         FAX -                         Payable                                                             $57,696
20   Strategy Oilfield Services   Accounting
     Inc                          EMAIL - jessica@ntin.net
     ATTN: Accounting             PHONE - (940) 759-4001
     204 North Walnut Street      FAX -                         Trade
     Meunster, TX 76252                                         Payable                                                             $57,500


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 Name of creditor and complete    Name, telephone number, and    Nature of       Indicate if     Amount of unsecured claim
 mailing address, including zip   email address of creditor      the claim       claim is        If the claim is fully unsecured, fill in only
 code                             contact                        (for example,   contingent,     unsecured claim amount. If claim is
                                                                 trade debts,    unliquidated,   partially secured, fill in total claim
                                                                 bank loans,     or disputed     amount and deduction for value of
                                                                 professional                    collateral or setoff to calculate
                                                                 services, and                   unsecured claim.
                                                                 government                                     Deducti
                                                                 contracts)                        Total         on for
                                                                                                  claim, if     value of        Unsecured
                                                                                                  partially     collatera         claim
                                                                                                  secured         l or
                                                                                                                 setoff
21 Wells Fargo Bank NA            General Counsel
   ATTN: General Counsel          EMAIL -
   420 Montgomery Street          PHONE - 1-(800) 869-3557       Trade
   San Francisco, CA 94104        FAX -                          Payable                                                             $50,357
22 Alpha Rental Tools Inc         Dwayne Boudoin
   ATTN: Dwayne Boudoin           EMAIL -
   President and Owner            dboudoin@alpharentaltools.co
   4836 Highway 182               m
   Houma, LA 70364                PHONE - (985) 879-4053         Trade
                                  FAX -                          Payable                                                             $49,412
23 Dupre Machine                  Jake Dupre
   ATTN: Jake Dupre               EMAIL -
   Owner                          jake@dupremachine.com
   143 Decal St                   PHONE - (337) 232-5948
   Lafayette, LA 70508-           FAX -                          Trade
   3350                                                          Payable                                                             $49,168
24 Downhole Solutions Inc         Burt Pereira
   ATTN: Burt Pereira             EMAIL -
   President                      burt.pereira@gmail.com
   81697 Hwy 41                   PHONE - (985) 774-1409    Trade
   Bush, LA 70431                 FAX -                     Payable                                                                  $48,484
25 Trinity Rental Services        John PrudhommeEMAIL -
   LLCATTN: John                  PHONE - (337) 886-6631FAX
   PrudhommeOwner1419             -
   Hugh Wallis Road
   SouthLafayette, LA                                            Trade
   70508                                                         Payable                                                             $41,405
26 Maverick Energy                Ron Chiasson
   Solutions LLC                  EMAIL -
   ATTN: Ron Chiasson             ron.chiasson@maverickenergy
   Chief Executive Officer        slt.com
   247 Brighton Loop              PHONE - (985) 664-1776 /
   Houma, LA 70360                (985) 855-5939              Trade
                                  FAX -                       Payable                                                                $39,185
27   Wide Range Logistics
     LLC                          EMAIL -
     ATTN: David Breaux           widerangelogistics1@gmail.co
     304 Hacker St.               m
     New Iberia, LA 70562         PHONE - (337) 519-9697       Trade
                                  FAX - (337) 446-3124         Payable                                                               $34,100




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 Name of creditor and complete    Name, telephone number, and   Nature of       Indicate if     Amount of unsecured claim
 mailing address, including zip   email address of creditor     the claim       claim is        If the claim is fully unsecured, fill in only
 code                             contact                       (for example,   contingent,     unsecured claim amount. If claim is
                                                                trade debts,    unliquidated,   partially secured, fill in total claim
                                                                bank loans,     or disputed     amount and deduction for value of
                                                                professional                    collateral or setoff to calculate
                                                                services, and                   unsecured claim.
                                                                government                                     Deducti
                                                                contracts)                        Total         on for
                                                                                                 claim, if     value of        Unsecured
                                                                                                 partially     collatera         claim
                                                                                                 secured         l or
                                                                                                                setoff
28 Pason Systems USA              Russel Smith
   Corporation                    EMAIL -
   ATTN: Russel Smith             russell.smith@pason.com
   Vice President                 PHONE - (979) 320-7685
   International                  FAX -
   7701 West Little York,
   Suite 800                                                    Trade
   Houston, TX 77040                                            Payable                                                             $33,826
29 North American Metals          Rod McMahon
   Inc                            EMAIL -
   ATTN: Rod McMahon              rmcmahon@northamericanmet
   President                      als.net
   20001 Oil Center Blvd          PHONE - (281) 443-4451    Trade
   Houston, TX 77073              FAX -                     Payable                                                                 $33,416
30 CHS Inc                        Courtney Heard
   ATTN: Courtney Heard           EMAIL -
   Accounts Receivable            courtney.heard@chsinc.com
   5500 Cenex Drive               PHONE - (605) 373-2597
   Inver Grove Heights,           FAX -                     Trade
   Minnesota 55077                                          Payable                                                                 $33,346




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 Fill in this information to identify the case:
 Debtor Name           Superior Energy Services, Inc.
 United States Bankruptcy Court for the:
 Southern                                     District of   Texas
                                                            (State)
 Case number (If known):                                              Chapter      11



 Official Form 202
 Declaration Under Penalty of Perjury for
 Non-Individual Debtors                                                                                                                       12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.
 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
 1519, and 3571.
                        Declaration and signature
                        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
                        or another individual serving as a representative of the debtor in this case.

                        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
                        correct:
                        ☐          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                        ☐          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                        ☐          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                        ☐          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                        ☐          Schedule H: Codebtors (Official Form 206H)
                        ☐          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                        ☐          Amended Schedule
                                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                   (Official Form 204)
                        ☐          Other document that requires a declaration
 I declare under penalty of perjury that the foregoing is true and correct.

 Executed on      12/07/2020                                          /s/ Westervelt (“Westy”) T. Ballard, Jr.
                 MM / DD / YYYY                                       Signature of individual signing on behalf of debtor

                                                                      Westervelt (“Westy”) T. Ballard, Jr.
                                                                      Printed name

                                                                      Authorized Signatory
                                                                      Position or relationship to debtor




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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
SUPERIOR ENERGY SERVICES, INC.                               : Case No. 20-_______ (_____)
                                                             :
                    Debtor.                                  :
                                                             :
------------------------------------------------------------ x

                                      LIST OF EQUITY HOLDERS3

      Pursuant to rule 1007 of the Federal Rules of Bankruptcy Procedure, the
      following is a list equity security holders:

          Equity Holders                      Address Of Equity Holder                           Percentage of
                                                                                                Equity Held (%)

     LJH, LTD.                      377 Neva Lane, Denison, TX 75020                                            15.21%
     MONARCH
     ALTERNATIVE
     CAPITAL LP                     535 Madison Avenue, New York, NY 10022                                        7.74%
     WARLANDER
     ASSET                          250 West 55th Street 33rd Floor, New York,
     MANAGEMENT, LP                 NY 10019                                                                      7.49%
     ARISTEIA                       One Greenwich Plaza, 3rd Floor, Greenwich,
     CAPITAL, L.L.C.                CT 06830                                                                      6.50%
     MADISON AVENUE                 150 East 58th Street, 14th Floor, New York,
     PARTNERS, LP                   NY 10155                                                                      5.40%




3   This list reflects holders of five percent or more of Superior Energy Services, Inc.’s common stock. This list serves as the
    disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy Procedure. By the
    Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the Debtors to File a Consolidated Creditor Matrix and List
    of the 30 Largest Unsecured Creditors, (II) Waiving the Requirement to File a List of Equity Security Holders, and (III)
    Authorizing the Debtors to Redact Certain Personal Identification Information filed contemporaneously herewith, the Debtor
    is requesting a waiver of the requirement under Bankruptcy Rule 1007 to file a list of all of its equity security holders.



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 Fill in this information to identify the case
 Debtor Name           Superior Energy Services, Inc.
 United States Bankruptcy Court for the:
 Southern                                    District of   Texas
                                                           (State)
 Case number (If known):                                             Chapter      11



 Official Form 202
 Declaration Under Penalty of Perjury for
 Non-Individual Debtors                                                                                                                     12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.
 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
 1519, and 3571.
                        Declaration and signature
                       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
                       or another individual serving as a representative of the debtor in this case.

                       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
                       correct:
                       ☐           Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                       ☐           Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                       ☐           Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                       ☐           Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                       ☐           Schedule H: Codebtors (Official Form 206H)
                       ☐           Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                       ☐           Amended Schedule
                       ☐         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                 (Official Form 204)
                                Other document that requires a declaration List of Equity Holders
 I declare under penalty of perjury that the foregoing is true and correct.


 Executed on      12/07/2020                                          /s/ Westervelt (“Westy”) T. Ballard, Jr.
                 MM / DD / YYYY                                      Signature of individual signing on behalf of debtor

                                                                     Westervelt (“Westy”) T. Ballard, Jr.
                                                                     Printed name

                                                                     Authorized Signatory
                                                                     Position or relationship to debtor




                                                                                                                                                   Page 21
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         Case 20-35812 Document 1 Filed in TXSB on 12/07/20 Page 26 of 27




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
SUPERIOR ENERGY SERVICES, INC.                               : Case No. 20-_______ (_____)
                                                             :
                    Debtor.                                  :
                                                             :
------------------------------------------------------------ x

                          CORPORATE OWNERSHIP STATEMENT

                 Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
Procedure, there are no corporations, other than a government unit, that directly or indirectly own
10% or more of any class of the debtor’s equity interests.




                                                                                             Page 22
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                      Case 20-35812 Document 1 Filed in TXSB on 12/07/20 Page 27 of 27


 Fill in this information to identify the case:
 Debtor Name           Superior Energy Services, Inc.
 United States Bankruptcy Court for the:
 Southern                                     District of   Texas
                                                            (State)
 Case number (If known):                                              Chapter     11



Official Form 202
Declaration Under Penalty of Perjury for
Non-Individual Debtors                                                                                                                     12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.
                       Declaration and signature
                       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
                       or another individual serving as a representative of the debtor in this case.

                       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
                       correct:
                       ☐          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                       ☐          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                       ☐          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                       ☐          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                       ☐          Schedule H: Codebtors (Official Form 206H)
                       ☐          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                       ☐          Amended Schedule
                       ☐        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official
                                Form 204)
                               Other document that requires a declaration Corporate Ownership Statement.
I declare under penalty of perjury that the foregoing is true and correct.


Executed on      12/07/2020                                          /s/ Westervelt (“Westy”) T. Ballard, Jr.
                MM / DD / YYYY                                      Signature of individual signing on behalf of debtor

                                                                    Westervelt (“Westy”) T. Ballard, Jr.
                                                                    Printed name

                                                                    Authorized Signatory
                                                                    Position or relationship to debtor




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